Case 2:17-cv-05075-AB-JPR Document 48 Filed 07/11/18 Page 1 of 2 Page ID #:1594



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  13
  14                      UNITED STATES DISTRICT COURT
  15                     CENTRAL DISTRICT OF CALIFORNIA
  16                     WESTERN DIVISION – LOS ANGELES
  17
  18 GIGANEWS, INC., a Texas corporation; Case No.: 2:17-cv-05075-AB (JPR)
     LIVEWIRE SERVICES, INC., a Nevada
  19 corporation,                          APPLICATION TO FILE
                                           DOCUMENTS UNDER SEAL IN
  20                 Plaintiffs,           CONNECTION WITH
                                           SUPPLEMENTAL
  21       v.                              MEMORANDUM OF LAW IN
                                           SUPPORT OF MOTION TO
  22 PERFECT 10, INC., a California        COMPEL PRODUCTION OF
     corporation; NORMAN ZADA, an          DOCUMENTS AND FOR
  23 individual; and DOES 1-50, inclusive, PROTECTIVE ORDER
  24                 Defendants.              Date:      July 19, 2018
                                              Time:      10:00 a.m.
  25                                          Courtroom: 690, 6th Floor
  26                                          Discovery Cut-off: July 27, 2018
                                              Trial Date: January 15, 2019
  27
  28
Case 2:17-cv-05075-AB-JPR Document 48 Filed 07/11/18 Page 2 of 2 Page ID #:1595



   1         TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
   2         NOTICE IS HEREBY GIVEN that in accordance with this District’s Local
   3 Rule 79-5.2.2(b) and the Court’s Standing Orders, Plaintiffs Giganews, Inc. and
   4 Livewire Services, Inc. hereby apply for an order permitting them to file the
   5 unredacted Perfect 10, Inc. Financial Report December 31, 2014, Bates range P-
   6 FIN009682–9715 under seal.
   7                  REASONS SUPPORTING RELIEF REQUESTED
   8         On Monday, July 9, 2018, Giganews and Livewire filed a supplemental brief
   9 on their motion to compel. Dkt. 46; 46-1. The filing included a copy of a Perfect 10
  10 2014 financial report. Dkt. 46-1, Ex. A. The document itself bears no confidentiality
  11 designation, and plaintiffs used the same document previously without restriction,
  12 including in debtor examinations in 2016. See Declaration of Todd Gregorian
  13 (“Gregorian Decl.”) ¶ 4 Exs. A, B. Defendants did not raise any objection to the July
  14 9 filing with plaintiffs directly. Instead, they filed a supplemental declaration on the
  15 motion to compel on July 10, stating that they had designated the financial report
  16 confidential under the protective order in the original copyright action. Plaintiffs
  17 now move to seal the financial report based on defendants’ designation.
  18                                     CONCLUSION
  19         For the foregoing reasons, Plaintiffs Giganews and Livewire respectfully
  20 request that the Court order that Docket No. 46-1, Exhibit A, be filed under seal and
  21 remove the current version from the public docket.           Plaintiffs will provide a
  22 replacement public version.
  23 Dated: July 11, 2018                     FENWICK & WEST LLP
  24
  25                                          By: /s/ Todd R. Gregorian
                                                 Todd R. Gregorian
  26
                                              Attorneys for Defendants
  27                                          GIGANEWS, INC., and
                                              LIVEWIRE SERVICES, INC.
  28
        APPL. TO FILE DOCUMENTS
        UNDER SEAL                               2        CASE NO.: 2:17-cv-05075-AB (JPR)
